                    Exhibit 10
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                               GREENEVILLE DIVISION


  B.P., H.A., and S.H., individually, and on      No: 2:23-cv-00071-TRM-JEM
  behalf of all other similarly situated,

                 Plaintiffs,

  v.
  City Of Johnson City, Tennessee, et al.,

                 Defendants.

     PLAINTIFFS’ SECOND SET OF INTERROGATORIES AND REQUESTS FOR
        PRODUCTION OF DOCUMENTS TO DEFENDANT JUSTIN JENKINS

 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE that pursuant to Rules 33 and 34 of the Federal Rules of Civil

 Procedure, Plaintiffs hereby request that Defendant Justin Jenkins respond and produce for

 inspection and copying, within thirty (30) days after service of these interrogatories and requests

 for production of documents.

                                          I. DEFINITIONS

        1.      “ASSETS” means all things of value to which an ownership interest can accrue

 including but not limited to real property, personal property, securities, and other financial

 instruments.

        2.      “COMMUNICATIONS” means written communications or records of oral

 communications of any kind that transmit information in the form of facts, ideas, opinions,

 questions, or otherwise. They include electronic communications such as emails, online messages,

 chat logs, mobile messages, talk-to-text messages, machine-generated messages, facsimiles, and

 telephone communications; as well as letters, memoranda, exchanges of written or recorded

 information, in-person meetings, and events attended by Responding Party and its representative.




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         3.       “DOCUMENT” means the term as used in Rule 34(a) of the Federal Rules of Civil

 Procedure. A draft or non-identical copy is a separate document within the meaning of this term.

         4.       “REGARDING” means referring to, reflecting, concerning, or being in a way

 logically or factually connected with the matter discussed.

         5.       “SEAN WILLIAMS” refers to the person named Sean Christopher Williams

 described in Plaintiffs’ Complaint.

         6.       “YOU” and “YOUR” means Justin Jenkins, and includes any trust or estate acting

 on his behalf.

                                            II. INSTRUCTIONS

         1.       Please produce the DOCUMENTS responsive to the numbered requests below that

 are in YOUR possession, custody, or control.

         2.       The relevant time period for these Requests is January 1, 2018, to present.

         3.       Construe the terms defined above and the individual requests for production and

 inspection broadly, to the fullest extent of their meaning.

         4.       If you file a timely objection to any portion of a request, definition, or instruction,

 produce DOCUMENTS responsive to the remaining portion.

         5.       If any DOCUMENT is withheld, in whole or in part, for any reason, including but not

 limited to any claim of privilege of any kind, work-product protection, trade secret, confidentiality,

 or any basis asserted under Tennessee Code Annotated § 10-7-504, please set forth separately with

 respect to each document: (a) a description of the privilege or grounds for confidentiality claimed; (b)

 the author(s) of the document (identifying who, if any, are attorneys); (c) the recipient(s) of the

 document, including all persons who received copies of the document (identifying who, if any, are

 attorneys); (d) the subject or title of the document; (e) the date of creation and/or date the document

 was sent; (f) a description of the document as set forth in Rule 26(b)(5)(A)(ii) of the Federal Rules of

 Civil Procedure; (g) the Bates range of the document; (h) a redacted version of the document; and (i)




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 the privilege log reference number. Please produce any privilege log or list in an Excel spreadsheet or

 other format capable of electronic sorting.

         6.       Please produce any purportedly privileged DOCUMENT containing non-privileged

 material and redact only the portion purportedly privileged.

         7.       Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, produce all

 electronically stored information in native format (including metadata) whenever possible, or in the

 format mutually agreed upon by the parties.

         8.       Because these requests are ongoing, please promptly produce any DOCUMENT

 discovered or obtained after the service of these requests.

         9.       Produce all documents in a Bates Stamped Format.

         10.      If you are refusing to produce a document on the basis of privilege, please provide a

 Privilege Log.

         11.      If you are responding to an interrogatory by referring Plaintiffs to a document, please

 identify any document with specificity and by Bates range.

                                       III. INTERROGATORIES

         1.       Identify all ASSETS valued over $10,000 bought or sold since January 1, 2018,

 including the date of the purchase or sale and the amount paid in consideration.

         2.       Identify all title(s) YOU hold to property valued over $10,000.

         3.       Identify all YOUR sources of income since January 1, 2018, including the annual

 amount of each source as reported on tax returns.

         4.       Identify all accounting firms used to prepare YOUR tax returns since January 1,

 2018, including the name and address of each firm.

         5.       Identify all financial institutions where YOU have maintained accounts since

 January 1, 2018, including the name and address of each institution.




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        6.      Identify all investigations relating to SEAN WILLIAMS in which YOU

 participated, including the nature of the investigation, YOUR role in the investigation, all

 persons YOU interviewed, all search warrants YOU executed, the date or dates YOU worked on

 the investigation, and the name of the victim (or Jane Doe/Female identifier) if applicable.

        7.      For all investigations identified in interrogatory number 6, identify YOUR

 supervisor at the time of the investigation.

        8.      State when construction was completed on the residence located at 107 Shady

 Rst. in Johnson City, Tennessee.

        9.      State when you first began to reside at 107 Shady Rst. in Johnson City,

 Tennessee.

                                    IV. DOCUMENT REQUESTS

        1.      All COMMUNICATIONS with Cathy Ball from January 1, 2018 to the present.

        2.      All COMMUNICATIONS with Steven Finney from January 1, 2018 to the

 present.

        3.      All COMMUNICATIONS with Scott Jenkins REGARDING SEAN WILLIAMS

 from January 1, 2018 to the present.

        4.      All COMMUNICATIONS with Scott Jenkins REGARDING Kateri Dahl from

 January 1, 2018 to the present.

        5.      All COMMUNICATIONS with Scott Jenkins REGARDING this litigation from

 January 1, 2018 to the present.

        6.      All COMMUNICATIONS with Scott Jenkins REGARDING the purchases of

 real property from January 1, 2018 to the present.

        7.      All non-privileged COMMUNICATIONS with Sunny Sandos REGARDING

 SEAN WILLIAMS from January 1, 2018 to the present.




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        8.      All non-privileged COMMUNICATIONS with Sunny Sandos REGARDING

 Kateri Dahl from January 1, 2018 to the present.

        9.      All non-privileged COMMUNICATIONS with Sunny Sandos REGARDING this

 litigation from January 1, 2018 to the present.

        10.     All non-privileged COMMUNICATIONS with Erik Herrin.

        11.     All bank statements from January 1, 2018 to the present.

        12.     All utility bills sent to YOU at any address during the year 2023.

        13.     All utility bills sent to the residence located at 107 Shady Rst. in Johnson City,

 Tennessee at any time.

        14.     All records of payments to contractors for work performed on the property located

 at 107 Shady Rst. in Johnson City, Tennessee.

        15.     All documents sent by YOU or on YOUR behalf to any state or federal tax

 agency stating the value of the property located at 107 Shady Rst. in Johnson City, Tennessee.

        16.     All records of phone calls and text or SMS messages for the following dates:

                •   September 19, 2020 and the following 5 days

                •   May 6, 2021 and the following 5 days

                •   April 29, 2023 and the following 5 days

                •   October 17, 2023 and the following 5 days

                •   November 20, 2023 and the following 5 days

                •   December 7, 2023 and the following 5 days

        17.     All records of phone calls and text or SMS messages exchanged with the

 following individuals:

                •   Alunda Rutherford

                •   SEAN WILLIAMS



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             •   Cathy Ball

             •   Steve Finney

             •   Mitzi Emig

             •   Bart Mikitowicz

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                                    Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

 I HEREBY certify that a copy of the foregoing has been served via email on March 14, 2024 to
 counsel of record:

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                                                  capacity, Jeff Legault in his individual
                                                  capacity and Brady Higgins in his individual
                                                  capacity


                                                    /s Elizabeth A. Kramer
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